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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE

 TAKEDA PHARMACEUTICALS U.S.A.,              )
 INC.,                                       )
                                             )
                Plaintiff,                   )
                                             )
   v.                                        ) C.A. No. 19-2216-RGA
                                             )
 MYLAN PHARMACEUTICALS INC.,                 )
                                             )
                Defendant.                   )


              PROPOSED ORDER ON PAR PHARMACEUTICAL, INC.’S
                         MOTION TO INTERVENE

        UPON CONSIDERATION of Par Pharmacuetical, Inc.’s Motion to Intervene, it is

ORDERED that the Motion is GRANTED.


Date:
                                                Richard G. Andrews
                                                United States District Judge
